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                                   STATEMENT OF FACTS

        Your Affiant, Gregory Meek, is a Special Agent with the Federal Bureau of Investigation
(“FBI”). Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As an FBI Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                     Probable Cause Specific to Loammi Yazdani-Isfehani

        Following the January 6, 2021, breach of the U.S. Capitol, the FBI Cincinnati Field Office
received numerous tips concerning individuals known to have participated in the Capitol riot. On
or about March 4, 2021, an individual identified as Witness-1 met with FBI to provide information
that he/she knew about Loammi YAZDANI-ISFEHANI, a/k/a “Elijah Yazdani”, and his entry
into the U.S. Capitol on January 6, 2021.

        Witness-1 and Loammi YAZDANI-ISFEHANI have known each other for years. Upon
reviewing an Ohio state DMV photograph of Loammi YAZDANI-ISFEHANI, Witness-1
positively identified Loammi YAZDANI-ISFEHANI as the person he/she knows.

        Witness-1 informed FBI that Loammi YAZDANI-ISFEHANI and his sisters, Abigail
YAZDANI-ISFEHANI and Loruhamah YAZDANI-ISFEHANI, traveled to Washington D.C.
to attend a rally in Washington D.C. According to Witness-1, Loammi YAZDANI-ISFEHANI
admitted that he entered the U.S. Capitol Building on January 6.

       According to Witness-1, prior to January 6, Loammi YAZDANI-ISFEHANI verbalized
his support of former United States President Donald Trump and his belief that former President
Trump was “unfairly cheated” out of a second term as U.S. President. Sometime after January 6,
Loammi YAZDANI-ISFEHANI sent videos from his cellular telephone, utilizing his telephone
number (xxx) xxx-4255 to Witness-1. Witness-1 received the videos to his/her cellular telephone.
Witness-1 is familiar with the aforementioned telephone number as being the cellular telephone
number of Loammi YAZDANI-ISFEHANI.                 The videos showed Loammi YAZDANI-
ISFEHANI inside of the U.S. Capitol. The videos depicted various statutes inside the building
and individuals inside of the Capitol.

       Witness-1 recalled Loammi YAZDANI-ISFEHANI stating that he drove from his
residence located in Albany, Ohio to Washington D.C. Witness-1 knows Loammi YAZDANI-
ISFEHANI to drive an older model Pontiac Grand Am, gray or silver in color. Loammi
YAZDANI-ISFEHANI told Witness-1 that he was accompanied to Washington D.C. by his
female siblings. Witness-1 did not know whether the YAZDANI-ISFEHANI sisters entered the
U.S. Capitol on January 6.

       As it relates to what occurred inside of the Capitol, Loammi YAZDANI-ISFEHANI told
Witness-1 that he only walked around the U.S. Capitol while inside and that he believed that the
violence that took place that day was caused by Antifa.

    Witness-1 deleted the videos from his/her telephone that he/she received from Loammi
YAZDANI-ISFEHANI.

       In an effort to locate videos of Loammi YAZDANI-ISFEHANI inside the U.S. Capitol,
your affiant conducted a manual review of the United States Capitol Police (USCP) closed-circuit


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television (CCTV). Numerous images of Loammi YAZDANI-ISFEHANI inside of the U.S.
Capitol were located. Your affiant compared Loammi YAZDANI-ISFEHANI’s driver’s license
photograph to the images generated. Based upon my review of the images, I determined that
Loammi YAZDANI-ISFEHANI was likely inside of the U.S. Capitol Building on January 6.

        While reviewing the video surveillance I observed the person I believe to be Loammi
YAZDANI-ISFEHANI wearing a red “Keep America Great” hat, dark jacket, with what appears
to be a dark hoodie sweatshirt underneath, drab-colored pants, and dark-colored tennis shoes. I
also observed the individual believed to be Loammi YAZDANI-ISFEHANI in possession of a
cellular telephone.

       The following are still photographs taken from CCTV surveillance footage which capture
the individual believed to be Loammi YAZDANI-ISFEHANI inside of the U.S. Capitol
Building:




                                               Image 1




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                               Image 2




                               Image 3




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                                               Image 4

       After obtaining the surveillance video footage, I met with Witness-1. During the meeting,
I showed Witness-1 additional video stills of Loammi YAZDANI-ISFEHANI from inside the
U.S. Capitol. See Images 5 and 6.




                    Image 5                                        Image 6




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      Witness-1 positively identified the individual in Images 5 and 6 as Loammi YAZDANI-
ISFEHANI.

                                Post-arrest Interview of Elijah Yazdani

        On April 28, 2021, the government presented a Complaint and Arrest Warrant requesting
the arrest of Loammi YAZDANI-ISFEHANI based on the aforementioned information. (Rec.
Docs. 1-4). On April 28, 2021, the Complaint and Arrest Warrant were signed by a U.S. Magistrate
Judge. On May 3, 2021, Loammi YAZDANI-ISFEHANI was arrested pursuant to an arrest
warrant. (Rec. Doc. 5).

        On May 3, 2021, Loammi YAZDANI-ISFEHANI executed an FBI Advice of Rights
form, voluntarily waiving his right to remain silent, thereby consenting to be interviewed by the
FBI. During his interview, Loammi YAZDANI-ISFEHANI admitted to entering the U.S.
Capitol on January 6. Additionally, he admitted that his sisters, Abigail YAZDANI-ISFEHANI
and Loruhamah YAZDANI-ISFEHANI, entered the U.S. Capitol with him. Loammi
YAZDANI-ISFEHANI reviewed photographs of himself inside of the U.S. Capitol and positively
identified himself in each of the photographs.

                   Probable Cause Specific to Loruhamah Yazdani-Isfehani

        On May 3, 2021, Loruhamah YAZDANI-ISFEHANI, was present at the location of her
brother’s arrest. Loruhamah YAZDANI-ISFEHANI voluntarily agreed to speak with FBI agents
after being informed that she was under no obligation to speak with the agents and being advised
that she was free to leave the location. During her interview, Loruhamah YAZDANI-
ISFEHANI told agents that she and her sister, Abigail YAZDANI-ISFEHANI, traveled to
Washington D.C. with their brother on January 5, 2021. The siblings traveled to Washington D.C.
to attend a “Stop the Steal” rally on January 6. While at the rally, Loruhamah YAZDANI-
ISFEHANI heard rally attendees say that they were going to the U.S. Capitol after the rally to
“stop the steal.” Loruhamah YAZDANI-ISFEHANI and her siblings decided to walk to the
U.S. Capitol.

        Upon arriving at the U.S. Capitol, Loruhamah YAZDANI-ISFEHANI saw police
officers standing near the entrance. She alleges that the officers allowed she and her siblings to
enter the U.S. Capitol.        Upon entering, Loruhamah YAZDANI-ISFEHANI, Abigail
YAZDANI-ISFEHANI, and Loammi YAZDANI-ISFEHANI walked up a set of stairs into what
stated was the Capitol Rotunda. She recalled officers telling and other rioters that they could not
proceed further. Loruhamah YAZDANI-ISFEHANI recalled rioters attempting to push their
way through the officers despite of the warnings. After hearing that officers had deployed tear gas
inside of the U.S. Capitol, the YAZDANI-ISFEHANI siblings attempted to leave the building.

     Loruhamah YAZDANI-ISFEHANI reviewed photographs of her brother, Loammi
YAZDANI-ISFEHANI taken on January 6. When shown one image, Loruhamah YAZDANI-
ISFEHANI stated that she could not state for certain that the individual in the photograph was
Loammi YAZDANI-ISFEHANI. However, when shown Images 5 and 6, she positively


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identified Loammi YAZDANI-ISFEHANI as the individual with whom she entered the U.S.
Capitol on January 6.

       Based on Loruhamah YAZDANI-ISFEHANI’s admission, and the information received
from Witness-1 and Loammi YAZDANI-ISFEHANI, your affiant attempted to confirm that
Loruhamah YAZDANI-ISFEHANI entered the U.S. Capitol on January 6. I began by locating
an Ohio DMV photo of Loruhamah YAZDANI-ISFEHANI. I then reviewed CCTV footage to
attempt to identify Loruhamah YAZDANI-ISFEHANI.

       The following images show Loruhamah YAZDANI-ISFEHANI inside of Statuary Hall,
the same location that her brother, Loammi YAZDANI-ISFEHANI was identified. See Images
10 and 11.




                                          Image 10




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                                            Image 11

       As mentioned, your Affiant personally interviewed Loruhamah YAZDANI-ISFEHANI.
Having reviewed surveillance and having personally observed Loruhamah YAZDANI-
ISFEHANI, and having reviewed the CCTV surveillance footage, your Affiant believes that the
person shown in Images 10 and 11 is likely Loruhamah YAZDANI-ISFEHANI.

                    Probable Cause Specific to Abigail Yazdani-Isfehani

       With knowledge that Loammi YAZDANI-ISFEHANI and Loruhamah YAZDANI-
ISFEHANI traveled to Washington D.C. with their sibling, Abigail YAZDANI-ISFEHANI,
your affiant attempted to locate CCTV surveillance that would place Abigail YAZDANI-
ISFEHANI inside of the U.S. Capitol. I located an Ohio DMV photograph of Abigail
YAZDANI-ISFEHANI prior to reviewing CCTV footage. The investigation yielded a positive
response that Abigail YAZDANI-ISFEHANI was likely inside of the U.S. Capitol.

     I located surveillance footage capturing the person I believed to be Abigail YAZDANI-
ISFEHANI outside of the U.S. Capitol. See Image 12.




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                                          Image 12

        Additionally, your affiant located open source materials that provided additional
photographs of Abigail YAZDANI-ISFEHANI. During my investigation, I learned that Abigail
YAZDANI-ISFEHANI is a student at Shawnee State where she is/was a member of the women’s
soccer team. http://www.ssubears.com/roster/35/8/5184.php. The website includes photographs of
team members. The photograph below depicts a photograph of an individual identified as “Abby
Yazdani.” Accompanying the photograph is a personal biography which references that “Abby
Yazdani” has five siblings including “Loru, Isaiah, and Elijah.”




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                                              Image 13

    Your affiant compared Images 12 and 13 to the Ohio DMV photograph of Abigail
YAZDANI-ISFEHANI. I believe that the individual in these images is likely one in the same.

        Additionally, I located the public Facebook page of Elizabeth Yazdani whom I believe to
be the mother of the Yazdani siblings, Elizabeth Yazdani. Notably, “Abby Yazdani’s” biography
in Image 13 states that she is he “daughter of Beth Yazdani.” I located a photograph of what I
believe to be a picture of the five Yazdani siblings, including, Abigail YAZDANI-ISFEHANI,
Loruhamah YAZDANI-ISFEHANI, and Loammi YAZDANI-ISFEHANI.




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                                                    Loammi Yazdani-Isfehani

    Abigail Yazdani-        Loruhamah
    Isfehani                Yazani-Isfehani




                                              Image 14

        Upon comparing the Ohio DMV photograph of the person identified as Abigail
YAZDANI-ISFEHANI to the person in Image 12, I concluded that the individual in Image 12 is
likely Abigail YAZDANI-ISFEHANI.

     I then reviewed surveillance inside of the U.S. Capitol to attempt to locate Abigail
YAZDANI-ISFEHANI. Numerous images of the person believed to be Abigail YAZDANI-
ISFEHANI were located. See Image 15.




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                                              Image 15

      I observed that the individual in Images 12 and 15 was attired in the same red “Make
America Great Again” baseball cap and what appears to be a red hat/band underneath the baseball
cap. Additionally, the individual appears to be wearing a dark colored turtleneck/sweater
underneath a blue puffer jacket.

     Additionally, I observed a number of images of the person believed to be Abigail
YAZDANI-ISFEHANI along with the individuals previously identified as Loammi YAZDANI-
ISFEHANI and Loruhamah YAZDANI-ISFEHANI inside of the U.S. Capitol.

        CCTV surveillance footage shows the YAZDANI-ISFEHANI siblings entering the U.S.
Capitol from the West Front via the Upper West Terrace at approximately 2:37 p.m. It appears
that the YAZDANI-ISFEHANI siblings walked up the stairs to the second floor and entered the
Rotunda from the west entrance. See Images 16 and 17.




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                                     Image 16

       These images of the YAZDANI-ISFEHANI siblings inside of the U.S. Capitol corroborate
the information provided by Witness-1, as well as the information provided by Loammi
YAZDANI-ISFEHANI and Loruhamah YAZDANI-ISFEHANI.




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                                                Image 17

       The YAZDANI-ISFEHANI siblings are believed to have walked through the Rotunda into
Statuary Hall. See Images 17 and 18.




                                           Image 18




                                           14
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                                           Image 19

       After exiting Statuary Hall, the YAZDANI-ISFEHANI siblings appear to have walked
through the Statuary Hall Connector and to the Rotunda before exiting the U.S. Capitol at
approximately 3:14 p.m. See Image 19.




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                                               Image 20

       The YAZDANI-ISFEHANI siblings were inside of the U.S. Capitol for approximately 37
minutes.

       After comparing the CCTV surveillance footage and the DMV photograph of Abigail
YAZDANI-ISFEHANI, your affiant believes that the individual in Images 12-20 is likely Abigail
YAZDANI-ISFEHANI. Additionally, based upon the information received in interviews of
Witness-1, Loammi YAZDANI-ISFEHANI, and Loruhamah YAZDANI-ISFEHANI your
Affiant believes that Abigail YAZDANI-ISFEHANI was inside of the U.S. Capitol on January
6.




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                                         CONCLUSION

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
Loammi YAZDANI-ISFEHANI, a/k/a “Elijah Yazdani,” Loruhamah YAZDANI-ISFEHANI,
and Abigail YAZDANI-ISFEHANI violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so.

        For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Loammi YAZDANI-
ISFEHANI, a/k/a “Elijah Yazdani,” Loruhamah YAZDANI-ISFEHANI, and Abigail
YAZDANI-ISFEHANI violated 40 U.S.C. §§ 5104(e), which make it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.



                                                     _________________________________
                                                     Agent Gregory Meek, Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 18th day of February, 2022.
                                                                           Zia M. Faruqui
                                                                           2022.02.18 15:39:53
                                                                           -05'00'
                                                     ___________________________________

                                                     U.S. MAGISTRATE JUDGE




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